Digital Federal Credit Union — Ra 7 — 0897

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Deposit Source | Transactions Total Connection to Business
Cash/Shared 9 $82,319.00
Branch Deposits
i 1 $20,000.00 Telegram: Testifying
Witness
a l $500.00 Telegram
4 $177,385.00 Telegram; Testifying
Witness
TOTAL $280,204.00
PAYEES
Payee Count Total
Ian Freeman 1 -$247,385.00
Prime Trust LLC 1 -$32.070.00
TOTAL -$279,455.00

 

As with DCU 5127 and 4760, there were 6 shared branch deposits that did not have
backup slips, so they are categorized by the accountant as “Item Missing,” but the bank
records make clear they are the type of shared branch deposits at the heart of Freeman’s

operation.

 

 
Summary of Deposit Sources
FE CG SR «OCU CHK 0897 (closed)
November 2020 - January 2021
Source
A.
H.
Cash

Dividend

Item Missin
Grand Total

Summary of Payees

Total
$20,000.00
$500.00
$67,545.00

$177,385.00
$25.03
14,774.00

of Total

7.14%

0.18%
24.10%
63.30%

0.01%

5.27%
100.00%

 

 

 

 

 

 

 

 

 

 

A CS Cu CHK 0897 (closed)

November 2020 - January 2021

Payee Count Total Paid Percentage of Total
Bank Fee 1 -§15.00 0.01%
Freeman, lan 1 -$247,385.00 88.28%

Prime Trust LLC 1 -$32,070.00 11.44%

Transfer to Acccount 1 (7 i Tm) 1 -$759.03 0.27%

Grand Total 6 -$280,229.03 100.00% *

 

 

 

*Reversed transactions on 1/6/2021, totaling $494,770 (2 transactions each in the amount of

$247,385), excluded from totals.

as of December 2, 2022
